            Case 2:24-cv-03370-ARL Document 4 Filed 05/13/24 Page 1 of 1 PageID #: 112

AO 440 (Rev. 06/ 12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                     for the
                                                        Eastern District of New York

                     Malachy P. Lyons, Jr.
                                                                       )
                                                                       )
                                                                       )
                                                                       )
                            Plaintijf(s)
                                                                       )
                                                                       )
                                 V.                                            Civil Action No. 24-CV-3370-ARL
                                                                       )
                Allstate Insurance Company                             )
                                                                       )
                                                                       )
                                                                       )
                           Defendant(s)                                )

                                                     SUMMONS IN A CIVIL ACTION
                                           Allstate Insurance Company 2775 Sanders Road, Northbrook, IL 60062
T o: (Defendant's name and address)




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: Malachy P. Lyons, Jr.
                                           1440 Ackerson Boulevard
                                           Bay Shore, NY 11706




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                                 BRENNA B. MAHONEY
                                                                                 CLERK OF COURT


Date:    05/13/2024
                                                                                            Signature ofClerk or Deputy Clerk
